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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 16-CR-20893-FAM(s)

   UNITED STATES OF AMERICA,

   vs.

   MONTY RAY GROW,

               Defendant.
   _______________________________/

                         DEFENDANT MONTY RAY GROW’S OBJECTIONS
                           TO PRSENTENCE INVESTIGATION REPORT

            Defendant Monty Ray Grow, by and through undersigned counsel, hereby files his

   objections to the Presentence Investigation Report (“PSI”) dated March 12, 2018 (DE 170), and

   states as follows:1

 I.      Objections to Offense Level Computation

         A. Analysis Under U.S.S.G. § 2B1.1 (PSI ¶¶ 42, 54-67 & 107-108)

            The PSI rests on a series of assumptions to reach a total offense level 36, namely: (1) that

   in returning a guilty verdict on Count 1, the jury found beyond a reasonable doubt that Mr. Grow

   conspired to commit both health care fraud, which carries a maximum term of imprisonment of 10

   years, and wire fraud, which carries a maximum term of 20 years; (2) that under U.S.S.G. § 2B1.1,

   which applies to both Counts 1 and 5, the loss amount is $19 million; (3) that under the grouping

   rules, § 2B1.1 determines the combined offense level because it produces the highest adjusted

   level; (4) that a 3-level increase is warranted because the loss to a health care program exceeds $7


   1
    Mr. Grow maintains his innocence, and therefore objects to each and every paragraph contained in the
   PSI on that basis. We recognize, however, that the jury returned a guilty verdict against Mr. Grow and that
   as a result, this Court is required to make certain findings in anticipation of sentencing. We therefore make
   specific objections only to those paragraphs that we believe are contrary to the evidence or contrary to law.
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   million; (5) that a 2-level increase is warranted for sophisticated means; and (6) that under §

   3B1.1(a), Mr. Grow’s offense level should be increased by 4 levels for role. Each of these

   assumptions is flawed.

           As a preliminary matter, contrary to the PSI, it is highly unlikely that the jury found Mr.

   Grow guilty of conspiracy to commit both health care fraud and wire fraud. Despite Mr. Grow’s

   request (DE 97), the jury was not presented with, and therefore did not return, a special verdict as

   to Count 1, and the general verdict said nothing about which of the two offenses formed the object

   of the conspiracy. But given that trial was singularly focused on the health care charge, that the

   jury returned a guilty verdict on Count 5 charging substantive health care fraud, and that the Court

   did not instruct the jury on wire fraud in any meaningful way, the only reasonable conclusion is

   that the jury intended to convict Mr. Grow of the health care fraud object.2

           Health care fraud, the PSI correctly notes, is governed by U.S.S.G. § 2B1.1. But because

   health care fraud has a statutory maximum term of 10 years, the base offense level is 6, not 7. In

   addition, the PSI improperly ascribes a $19 million loss amount and resulting 20-level increase to

   Mr. Grow when there is no basis to do so. Aside from a single claim for $7,014 that forms the

   basis of Count 5 (which we dispute), there is no evidence that any of the claims submitted by PCA

   to Tricare were medically unnecessary or otherwise false. (PSI ¶ 40). While the jury found that


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      Should the Court rule otherwise and determine that Mr. Grow is guilty of conspiracy to commit wire
   fraud, the applicable guideline would be § 2B4.1, not § 2B1.1. Although the guidelines direct users to §
   2B1.1 for violations of the wire fraud statute, § 2B1.1 includes a cross reference provision, which states
   that where a defendant is convicted under a “general fraud statute” such as 18 U.S.C. § 1343, § 2B1.1 will
   not apply if the defendant’s conduct is “more aptly covered by another guideline.” U.S.S.G. § 2B1.1(c)(3),
   comment. (n.16). Among the examples cited by the commentary is the state employee convicted under 18
   U.S.C. § 1341 for using the mails to offer bribes to influence the award of a state contract. While the
   employee could be sentenced under § 2B1.1, such a case, the commentary concludes, would be more aptly
   covered by § 2C1.1, which applies to the offering of bribes and to honest services fraud. Id. Here,
   application of the cross reference provision leads to a similar result. To the extent Mr. Grow was even
   convicted of conspiracy to commit wire fraud (which we dispute), the conduct at issue – his purported
   receipt of kickbacks – is covered by U.S.S.G. § 2B4.1. (PSI ¶ 54). Accordingly, § 2B4.1 should apply.
   See Point IB, infra.

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   Mr. Grow received kickbacks in connection with PCA’s Tricare claims, the Court of Appeals has

   held that a party’s receipt of kickbacks “is not sufficient to establish a loss” under § 2B1.1. United

   States v. Medina, 485 F.3d 1291, 1304 (11th Cir. 2007) (concluding that absent evidence that

   claims are medically unnecessary, the fact that kickbacks are paid and received does not establish

   a loss to Medicare); cf. United States v. Guerra, 307 F. App’x 283, 285 (11th Cir. 2009) (noting,

   in a subsequent appeal by one of the Medina defendants, that the trial court interpreted Medina to

   mean that even in the face of kickbacks, “there is no [health care fraud] loss in the absence of . . .

   illegitimate prescriptions”).

          With no evidence of lack of medical necessity to support any loss beyond at most $7,014,

   the PSI, at the Government’s urging, instead points to the $19 million that Mr. Grow received in

   purported kickbacks and equates that figure with loss. (PSI ¶¶ 40-41). Setting aside that the

   kickback number is not $19 million but $18,856,744, that figure cannot be used to determine loss

   for purposes of § 2B1.1 because it reflects not loss, but the improper benefit that the jury believed

   was conferred upon Mr. Grow. Put differently, the $18,856,744 figure is not loss, but gain to Mr.

   Grow in the form of kickbacks. While the guidelines “permit the use of the defendant’s gain as a

   substitute figure,” they do so “only if there is a loss [that] reasonably cannot be determined.”

   United States v. Bradley, 644 F.3d 1213, 1289 (11th Cir. 2011) (quoting § 2B1.1, comment.

   (n.2(B))). If a loss can be determined, as is the case here, a court cannot sentence a defendant

   based on gain. Accordingly, the PSI’s reliance on kickbacks to prove loss is impermissible.

          With a loss amount of at most $7,014, Mr. Grow’s offense level should only be increased

   by 2 levels, not 20. And with that loss figure, the 3-level, federal health-care program increase

   proposed by the PSI pursuant under § 2B1.1(b)(7) no longer applies.




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          Equally unwarranted is the proposed 2-level increase based on sophisticated means.

   Notwithstanding the PSI’s characterization of the conspiracy as “sophisticated” (PSI ¶ 42), the

   term “sophisticated means” refers only to “especially complex or especially intricate conduct

   pertaining to the execution or concealment of an offense.” § 2B1.1, comment. (n.9(B)). Typically,

   sophisticated means includes conduct “such as hiding assets or transactions, or both, through the

   use of fictitious entities, corporate shells, or offshore financial accounts.” Id. None of that is

   present here – no false billings to Tricare, no fraudulent prescriptions, no false invoices to conceal

   the payment of commissions, no fictional shell companies, no hiding assets, no illicit cash

   payments and no overseas accounts.

          At worst, the evidence in this case shows that Mr. Grow, as a sales representative for PCA,

   recruited by word of mouth other sales representatives and patients whom, he was told, were

   interested in securing prescription topical creams and vitamins to treat their various symptoms and

   conditions. Those patients were then referred to telemedicine doctors who would decide, in the

   exercise of their independent medical judgment, whether to write the prescriptions.              If a

   prescription was written (which did not universally occur), PCA would submit the claim to Tricare.

   Ultimately, Mr. Grow received commissions from PCA, between 40 and 50 percent of which went

   to his representatives whom he paid based on a simplistic excel spreadsheet that he created and

   maintained. Mr. Grow not only paid nearly $5 million in taxes on behalf of himself and his

   company, but he issued 1099s to ensure that the sales representatives paid tax on their earnings as

   well. Under these facts, a 2-level increase for sophisticated means is not appropriate.

          Nor should the Court impose any increase on the basis of role, let alone the 4-level increase

   proposed by the PSI under U.S.S.G. § 3B1.1(a). (PSI ¶ 42). No other co-conspirator in this or any

   of the related cases has been assessed a role enhancement, and no one from PCA has even been



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   charged as a co-conspirator. Ginger Lay masterminded and ran the survey program, recruited

   scores of patients and marketers, and received payments totaling $6.3 million (a full one-third of

   the gross amount Mr. Grow received from PCA), yet she received no role increase. (PSI ¶ 43).

   Nor did Deanna Dutting or Paul Robinson who, after collectively earning hundreds of thousands

   of dollars from PCA through Mr. Grow, proceeded to sever ties with Mr. Grow and establish their

   own marketing companies through which they earned hundreds of thousands more marketing to

   patients for the benefit of an unrelated pharmacy. (PSI ¶¶ 35-36). Halliburton, Matthews, Bjerke,

   Bowman and Bear also saw no role increase even though they recruited dozens of patients and

   sales representatives. (PSI ¶¶ 35-36). There is no principled reason why Mr. Grow should receive

   a four-level increase when no other person received any role enhancement at all.

          To the extent there was health care fraud, it was realized through the operations of PCA,

   which was solely responsible for submitting claims to Tricare. Mr. Grow did not supervise any

   physicians and had no role in claims submission on behalf of the pharmacy. As to the receipt of

   kickbacks, Mr. Grow was merely one of a number of sales representatives hired by PCA to recruit

   patients and other marketers on PCA’s behalf. He did not supervise or manage anyone in

   connection with his receipt of kickbacks. And he was paid no different from how he was paid as

   a W-2 employee of PCA for which he was acquitted. While Mr. Grow also was convicted of

   conspiring to pay kickbacks, he was acquitted of all substantive counts, putting into question what

   conduct that conspiracy object actually covered. Accordingly, Mr. Grow’s offense level should

   not be increased for role.3




   3
    For these reasons, if the Court is inclined to impose a role enhancement, that enhancement should be no
   more than 3 levels.


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           Applying the analysis set forth above, Mr. Grow’s offense level under Counts 1 and 5 is

   not level 36 as the PSI suggests, but level 8, which is calculated as follows:

                   Base Offense Level:                      6
                   Loss:                                    +2
                   Adjusted Offense Level:                  8


       B. Analysis Under U.S.S.G. § 2B4.1

           The PSI relies exclusively on § 2B1.1 in determining Mr. Grow’s offense level. Section

   2B1.1, however, does not drive Mr. Grow’s sentence. As set forth in Mr. Grow’s Motion for

   Judgment of Acquittal (DE 165), given the evidence presented in this case, Counts 1 and 5 cannot

   stand under the logic of the Court of Appeals’ decision in United States v. Medina, supra. But

   even if Counts 1 and 5 survive, this is, at bottom, a kickback case. U.S.S.G. § 2B4.1, which applies

   the kickback counts, is therefore the most analogous guideline.4 Under § 2B4.1, having been

   convicted of receiving kickbacks totaling $18,856,744, Mr. Grow’s adjusted offense level is as

   follows:

                   Base Offense Level:                      8
                   Value of the Bribe:                      +20
                   Adjusted Offense Level:                  28 (78-97 months)5




   4
     Notably, every defendant in the related cases save for Matthews, who was allowed to plead to a single
   misbranding charge, was sentenced under § 2B4.1.
   5
     Mr. Grow also was convicted of purchasing a single cashier’s check in the amount of $105,545. U.S.S.G.
   § 2S1.1, which applies to money laundering offenses, garners a lower offense level than § 2B4.1.
   Accordingly, we will not address money laundering in the context of these objections. We reserve the right
   to do so, however, at the Court’s request or should the Government address money laundering in its
   objections to the PSI or at sentencing.


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 II.      Miscellaneous Objections

              Page 1, Count 1 and Paragraph 113: In the absence of a special verdict on Count 1, Mr.

    Grow wishes to clarify that because he was convicted of conspiracy to commit health care fraud

    (as opposed to conspiracy to commit wire fraud),6 the applicable penalty ranges from 0 to 10 years,

    not 0 to 20 years’ imprisonment. Further, with a health care loss of $7,014, Mr. Grow’s maximum

    fine under Count 1 is $250,000.

              Page 1, Count 9 and Paragraph 113: Mr. Grow wishes to clarify that because he was

    convicted of receiving kickbacks totaling $18,856,744, his alternative maximum fine under Count

    9 is $37,731,488, not $38 million.

              Paragraph 1: Mr. Grow wishes to clarify that in addition to the Counts identified in the

    last sentence of this paragraph, he was also acquitted of Count 30, 31 and 32.

              Paragraph 5: Mr. Grow wishes to clarify that Deanna Dutting, Paul Robinson and

    Raymond Bear were charged by Indictment in Case No. 16-20910-Scola (DE 1). Each then

    proceeded to waive indictment and plead guilty to an Information charging them with conspiracy

    to receive health care kickbacks.

              Paragraph 7:     Mr. Grow wishes to clarify that Sven Bjerke pleaded guilty to the

    Information on December 5, 2017.

              Paragraph 11: Mr. Grow objects to this paragraph because it fails to reflect that under

    the Anti-Kickback Statute, a person may only be held criminally liable if he acts knowingly and

    willfully.

              Paragraph 12: Mr. Grow objects to this paragraph because there is no evidence that Mr.

    Grow knowingly conspired with any so-called “others” referenced in this paragraph. Nor was



    6
        See Point IA, supra.

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   there evidence presented at trial that Mr. Grow conspired with Paul Robinson, Deanna Dutting,

   Raymond Bear, Shane Matthews or Michael Bowman. While each may have made certain

   representations in connection with their respective pleas, we have not been afforded an opportunity

   to test those claims because none of them testified at trial. In addition, Deanna Dutting and Paul

   Robinson severed all ties with Mr. Grow in late-March 2015. For that reason alone, it is not correct

   to say that Mr. Grow conspired with either Dutting or Robinson through June 2015. Finally, Mr.

   Grow objects to this paragraph to the extent it claims that Mr. Grow paid kickbacks through June

   2015. The evidence proves that Mr. Grow and many of his sales representatives became W-2

   employees of PCA in May 2015, and thereafter were paid directly by the pharmacy. The evidence

   proves, and the jury found, that all payments made by PCA to its representatives once they became

   W-2 employees of the pharmacy fell within the Anti-Kickback Statute’s statutory safe harbor, and

   therefore did not constitute kickbacks.

           Paragraph 16: Mr. Grow objects to this paragraph to the extent it states that Bowman

   “paid individuals” to refer Tricare beneficiaries to MG TEN. There is no evidence that Bowman

   paid others to refer Tricare beneficiaries to Mr. Grow’s company, nor is there evidence that Mr.

   Grow was ever aware of such payments. Further, no evidence was presented at trial concerning

   Bowman’s formation of MB-Ten or his role in the conspiracy. While we understand that Bowman

   made certain representation in connection with his plea, we were not afforded an opportunity to

   test those claims because he did not testify at trial.

           Paragraph 17: Mr. Grow objects to this paragraph on several grounds. As an initial

   matter, there is no evidence that Mr. Grow offered or paid kickbacks to any Tricare beneficiaries

   as an incentive to induce them to order compounded medications. Mr. Grow made a handful of

   payments to patients who ultimately chose not to become sales representatives. But as the jury



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   clearly found, those payments (out of thousands of payments intended for more than 125 different

   sales representatives) were the result of inadvertent accounting error, not attempts to induce

   patients to order compounded medications. (DE 115 ¶ 9(b)).

            Instead, it was Ginger Lay who paid patients pursuant to a survey program that she alone

   created and managed. The evidence shows that Lay drafted the survey; that she transmitted it from

   her corporate email address to patients whom she recruited independent of Mr. Grow; that she

   instructed the patients to return the completed survey forms to a company of which she was the

   sole owner; and that she paid those patients from her corporate bank account – all without Mr.

   Grow’s knowledge, participation or assent. Of the three survey participants who testified at trial,

   not one testified that he had ever heard of Mr. Grow, had ever spoken with Mr. Grow or had

   received any payments from Mr. Grow. While Lay claims that Mr. Grow knew about the survey

   program and agreed that patients could be paid, contemporaneous documents prove otherwise. See

   DX 205 (text from Mr. Grow to Lay that reads: “I wouldn’t be paying anyone”); see also DX 202I

   (survey flier created on Lay’s personal computer); DX 202J (survey sent from Lay’s company,

   Med RX Sales); DX 202K (bank statements for Med RX Sales reflecting payments to patients).

            Nor is there any evidence that Mr. Grow induced Tricare beneficiaries to receive

   compounded medications by waiving Tricare copayments. The uncontroverted evidence is that an

   executive at Patient Care America (“PCA”) – a company with outside counsel and a separate

   compliance department – told Mr. Grow that he could lawfully pay the co-payments on behalf of

   Tricare beneficiaries. Mr. Grow therefore had no reason to believe that it was improper for him to

   do so.

            Similarly, there is no evidence that Mr. Grow induced even a single Tricare beneficiary to

   receive medications “without regard to any legitimate medical need for the drug,” as paragraph 17



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   claims. With one exception, no patient testified that he or she ever received a prescription that was

   medically unnecessary. The lone exception, Josie Brundige, was clear that she never once spoke

   with Mr. Grow, and certainly never told him that she had no need for the scar cream. Brundige

   aside, every patient who testified reported that they had a medical need for the prescription. Many

   also said that the medications helped alleviate their symptoms. And not one testified that Mr.

   Grow was told or otherwise knew that patients were receiving prescriptions absent medical need.

   Similarly, the only physician called to testify, Dr. Ankush Bansal, testified that he never once

   wrote a prescription that he did not believe was medically appropriate.

          Finally, Mr. Grow objects to this paragraph to the extent it claims that Mr. Grow paid

   kickbacks to Lay through June 2015. The evidence proves that Mr. Grow and many of his sales

   representatives became W-2 employees of PCA in May 2015, and thereafter were paid directly by

   the pharmacy. The evidence proves, and the jury found, that all payments made by PCA to its

   representatives once they became W-2 employees of the pharmacy fell within the Anti-Kickback

   Statute’s statutory safe harbor, and therefore did not constitute kickbacks.

          Paragraph 18:        Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Bowman’s role in the conspiracy.            While Bowman may have made certain

   representations in the context of his plea, we were not afforded an opportunity to test those claims

   because he did not testify at trial.   Further, Mr. Grow objects to this paragraph to the extent it

   claims that Mr. Grow paid kickbacks through June 2015. The evidence proves that Mr. Grow and

   many of his sales representatives became W-2 employees of PCA in May 2015, and thereafter

   were paid directly by the pharmacy. The evidence proves, and the jury found, that all payments

   made by PCA to its representatives once they became W-2 employees of the pharmacy fell within

   the Anti-Kickback Statute’s statutory safe harbor, and therefore did not constitute kickbacks.



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            Paragraph 20: Mr. Grow objects to this paragraph because it is inaccurate. Although the

   Marketing Agreement between Mr. Grow and Ginger Lay was dated October 2014, Lay testified

   that she did not begin working with Mr. Grow until late December 2014 or early January 2015.

   Further, as set forth above, there is no credible evidence that Mr. Grow was aware of or participated

   in Ginger Lay’s patient-survey program, or that he had any role in creating or disseminating the

   flyer discussed in this paragraph.

            Paragraph 21: Mr. Grow objects to this paragraph because is inaccurate. While Mr. Grow

   once provided Lay with a completed intake form as a sample, at no time did he suggest that Lay

   should use that sample form and apply it to all patients. Nor did he suggest that Lay pre-select

   specific medications without regard to a patient’s medical need. Further, Mr. Grow always

   understood that regardless of any recommendation made on a particular intake form, no

   medications would be given unless prescribed by a licensed telemedicine physician who, in the

   exercise of his or her independent medical judgment, determined after consulting with the patient

   that the prescription was medically necessary. There is no evidence that a physical examination

   of each patient was required.

            Paragraph 22:     Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Bowman’s role in the conspiracy. While Bowman may have made certain claims in

   the context of his plea, we were not afforded an opportunity to test those claims because he did not

   testify at trial.

            Paragraphs 23 through 28: Mr. Grow wishes to clarify that no evidence was admitted at

   trial concerning Mathews’ role in the conspiracy. While Matthews may have made certain claims

   in the context of his plea, we were not afforded an opportunity to test those claims because he did

   not testify at trial. That aside, Mr. Grow objects to paragraph 26 to the extent it claims that Mr.



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   Grow told Matthews that Tricare beneficiaries could receive commissions for their own

   prescriptions. Mr. Grow testified (and the jury, through its acquittal, agreed) that he never made

   any such statement, and that to the extent that a small number of patients (less than 5 out of nearly

   600) were paid for their own prescriptions, it was the result of inadvertent error. In addition, Mr.

   Grow objects to paragraph 27 to the extent it asserts that Mr. Grow agreed to pay Matthews $100

   per physician consultation. As the evidence reflects, Mr. Grow paid telemedicine companies, not

   Matthews, $100 for each consultation by a physician. Mr. Grow further objects to this paragraph

   because it states incorrectly that physical examinations are “prerequisite[s] to the dispensing of all

   drugs,” and that any prescriptions written pursuant to a telemedicine consult are therefore invalid.

   Neither is accurate, as Dr. Bansal testified and as the Government ultimately conceded.

            Paragraph 30: Mr. Grow objects to this paragraph to the extent it suggests that payments

   made by PCA to its sales representatives after the W-2 conversion were illegal kickbacks. The

   evidence proves, and the jury found, that all payments made by PCA to its representatives once

   they became W-2 employees of the pharmacy fell within the Anti-Kickback Statute’s statutory

   safe harbor, and therefore did not constitute kickbacks.

            Paragraph 31: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Dutting’s role in the conspiracy. While Dutting may have made certain claims in the

   context of her plea, we were not afforded an opportunity to test those claims because she did not

   testify at trial.

            Paragraph 32: Mr. Grow objects to this paragraph because, as set forth above, there is no

   credible evidence that Mr. Grow was aware of or participated in Lay’s survey program. Nor is

   there credible evidence that Mr. Grow was aware of, authorized or made any payments to survey

   participants, and in fact there is direct evidence to the contrary.



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          Paragraph 34: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Robinson’s or Dutting’s roles in the conspiracy. While Robinson and Dutting may

   have made certain claims in the context of their respective pleas, we were not afforded an

   opportunity to test those claims because neither testified at trial.

          Paragraph 35: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Robinson’s role in the conspiracy. While Robinson may have made certain claims in

   the context of his plea, we were not afforded an opportunity to test those claims because he did not

   testify at trial. Further, in late-March 2015, Robinson severed all ties with Mr. Grow and began

   marketing compounded medications for the person identified as Individual 3 and the pharmacy

   identified as Company 2, neither of which has any relationship to Mr. Grow.

          Paragraph 36: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Dutting’s role in the conspiracy. While Dutting may have made certain claims in the

   context of her plea, we were not afforded an opportunity to test those claims because she did not

   testify at trial. Further, in late-March 2015, Dutting severed all ties with Mr. Grow and began

   marketing compounded medications the person identified as Individual 3 and the pharmacy

   identified as Company 2, neither of which has any relationship to Mr. Grow.

          Paragraph 37: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Bear’s role in the conspiracy. While Bear may have made certain claims in the context

   of his plea, we were not afforded an opportunity to test those claims because he did not testify at

   trial. Mr. Grow further objects to this paragraph to the extent it suggests that payments made by

   PCA to its sales representatives after the W-2 conversion were illegal kickbacks. The evidence

   proves, and the jury found, that all payments made by PCA to its representatives once they became




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   W-2 employees of the pharmacy fell within the Anti-Kickback Statute’s statutory safe harbor, and

   therefore did not constitute kickbacks.

          Paragraph 38: Mr. Grow objects to this paragraph to the extent it suggests that payments

   made by PCA to its sales representatives after the W-2 conversion were illegal kickbacks. Mr.

   Grow further objects to this paragraph to the extent it suggests that payments made by PCA to its

   sales representatives after the W-2 conversion were illegal kickbacks. The evidence proves, and

   the jury found, that all payments made by PCA to its representatives once they became W-2

   employees of the pharmacy fell within the Anti-Kickback Statute’s statutory safe harbor, and

   therefore did not constitute kickbacks.

          Paragraph 39: Mr. Grow wishes to clarify that no evidence was admitted at trial

   concerning Bowman’s role in the conspiracy. While Bowman may have made certain claims in

   the context of his plea, we were not afforded an opportunity to test those claims because he did not

   testify at trial. Mr. Grow further objects to this paragraph to the extent it suggests that payments

   made by PCA to its sales representatives after the W-2 conversion were illegal kickbacks. The

   evidence proves, and the jury found, that all payments made by PCA to its representatives once

   they became W-2 employees of the pharmacy fell within the Anti-Kickback Statute’s statutory

   safe harbor, and therefore did not constitute kickbacks.

          Paragraph 40: Mr. Grow objects to this paragraph to the extent it seeks to hold him

   responsible for claims paid by Tricare to, or any improper benefits conferred upon, Company 2.

   As set forth elsewhere in the PSI (PSI ¶¶ 35-36), Dutting and Robinson recruited Tricare

   beneficiaries for Individual 3 and Company 2 after severing ties with Mr. Grow.

          Paragraph 41: Mr. Grow objects to this paragraph to the extent it seeks to hold him

   responsible for a loss amount of $19 million. For purposes of U.S.S.G. § 2B1.1, the “loss amount”



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   is at most $7,014, the amount of the claim at issue in Count 5.7 Separately, Mr. Grow was

   convicted of receiving kickbacks totaling $18,856,744, not $19 million.

             Paragraph 42: The question of role aside (supra, Point IA), Mr. Grow objects to this

   paragraph because it is inaccurate on several fronts. First, while Robinson, Dutting, Bear, and

   Bowman made certain claims in the context of their respective pleas, we were not afforded an

   opportunity to test those claims because he did not testify at trial. Beyond that, there is no evidence

   that Mr. Grow made a single payment, kickback or otherwise, to Paul Robinson. Nor is there

   evidence that Mr. Grow made payments to any “others unknown to the” Government, as this

   paragraph suggests.

             Second, there is no evidence that Mr. Grow made even a single payment in order to recruit

   patients “for the purpose[] of submitting false and fraudulent claims” to Tricare. As stated above,

   every patient but one testified that they had a medical need for their prescriptions, with many

   testifying that medications helped alleviate their symptoms. And not one person testified that Mr.

   Grow was told or otherwise knew that patients were receiving prescriptions absent medical need.

   Nor was there even a shred of evidence that Mr. Grow was involved in PCA’s Tricare claims

   submission process, let alone that he was aware of or involved with the submission of false claims.

             Third, while Mr. Grow was convicted of receiving $18,856,744 (not $19 million) in

   kickbacks, the loss amount for purposes of U.S.S.G. § 2B1.1 is at most $7,014.

             And finally, fourth, while Mr. Grow did, in fact, purchase a Porsche with funds he received

   from PCA, that fact bears no relevance to the question of Mr. Grow’s role in the offense.




   7
       See Point IA, supra.

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           Paragraph 43: Mr. Grow objects to this paragraph to the extent it suggests that (1) Mr.

   Grow directed Company 1 to submit false claims to Tricare, or (2) that any false claims were, in

   fact, submitted to Tricare. As noted above, there is no evidence to support either allegation.

           Paragraphs 44 through 49: In response to these paragraphs, Mr. Grow wishes to clarify

   that no evidence was admitted at trial concerning the roles played by Robinson, Dutting, Bear,

   Matthews or Bowman in the conspiracy. While all four may have made certain claims in the

   context of their respective pleas, we were not afforded an opportunity to test those claims because

   they did not testify at trial.

           In addition, in response to Paragraph 44, Mr. Grow wishes to clarify that the total kickback

   figures listed as having been paid to Robinson and Dutting consist of (in the case of Robinson) or

   include (in the case of Dutting) monies each received from Company 2 in connection with a

   separate conspiracy unrelated to Mr. Grow. Similarly, Mr. Grow objects to the kickback figures

   listed in paragraphs 45 through 49 to the extent they include payments not from Mr. Grow, but

   from PCA after the W-2 conversion process was complete. As noted above, the evidence proves,

   and the jury found, that all payments made by PCA to its representatives once they became W-2

   employees of the pharmacy fell within the Anti-Kickback Statute’s statutory safe harbor, and

   therefore did not constitute kickbacks.

            Paragraph 100: Mr. Grow wishes to clarify that both the 2014 Porsche and 2014 Range

   Rover have been seized by the Government.

           Paragraph 105: Mr. Grow wishes to clarify that he is a 49 percent owner of MG 10 Land,

   LLC, which (unlike MG TEN) is not involved in this case.

           Paragraph 118: Mr. Grow objects to the PSI’s conclusion that there are no factors that

   would warrant a variance. Mr. Grow intends to submit a separate sentencing memorandum in



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        advance of sentencing that will address, among other things, the sentencing factors under 18 U.S.C.

        § 3553(a) and Mr. Grow’s entitlement to a downward variance.

 III.       Objections to Calculation of Mandatory Restitution (PSI ¶¶ 50-51 & 116-117)

               The PSI recommends that the Court impose mandatory restitution of $19 million. Again,

        however, given that Mr. Grow was convicted of receiving kickbacks totaling $18,856,744, his

        restitution should be $18,856,744, not $19 million. Further, consistent with the Judgments of

        Conviction entered in the related cases, Mr. Grow submits that his restitution should be made joint

        and several with the following: Deanna Dutting up to $264,263 (Case No. 16-20910-Cr-Scola,

        DE 59); Paul Robinson up to $177,575 (id., DE 69); Raymond Bear up to $43,705 (id., DE 72);

        Robin Halliburton up to $67,732 (Case No. 16-20846-Cr-Huck, DE 37); Sven Bjerke up to

        $114,378 (Case No. 17-60264-Cr-Cohn, DE 20); and Bowman up to $135,024 (Case No. 17-

        60248-Cr-Gayles, DE 31).8

                                                      Respectfully submitted,

                                                     /s/ Jeffrey E. Marcus
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        8
         Although Mr. Matthews admitted to receiving $439,765 over the course of the conspiracy, he was not
        ordered to pay restitution.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 26, 2018, a true and correct copy of the foregoing was served

   via CM/ECF on all counsel of record.

                                                               /s/ Jeffrey E. Marcus
                                                               JEFFREY E. MARCUS




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